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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                         Chapter 7
 In re:

 MOUNTAIN EXPRESS OIL COMPANY, et al.,                   Case No. 23-90147 (DRJ)

                               Debtors.                  (Jointly Administered)


                        NOTICE OF ADJOURNMENT OF HEARING
                                      (No. 488)

          PLEASE TAKE NOTICE that on June 5, 2023, the Debtors filed their Emergency Motion

for (I) Entry of an Order to Appear and Show Cause Against Monto Food Mart Inc.; Yonkers Fuel

Inc.; Broadway Fuel Inc.; Prime Petro Inc,; American 1 Gas Inc.; Commack Fuel Inc.; M & Y

Pump Services Inc.; and VM Petro, Inc.; and (II) the Imposition of Compensatory and Coercive

Sanctions Against the Subject Parties for Violations of the Automatic Stay [Docket No. 488] (the

“Motion”).

          PLEASE TAKE FURTHER NOTICE that the hearing on the Motion has set for

September 12, 2023 at 9:00 a.m. (prevailing Central Standard Time) before the Honorable

Judge David R. Jones.


          PLEASE TAKE FURTHER NOTICE that the hearing on the Motion has adjourned to

November 27, 2023 at 2:00 p.m. (prevailing Central Standard Time) before the Honorable

Judge David R. Jones. You may participate in the hearing either in person or via audio and video

connection.


          PLEASE TAKE FURTHER NOTICE that audio connection will be by use of the Court’s

dial-in facility. You may access the facility at 832-917-1510. Once connected, you will be asked
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 to enter the conference room number. Judge Jones’s conference room number is 205691. Video

 communication will be by use of GoToMeeting platform. The meeting code is “JudgeJones”.

 Click on the settings income in the upper right corner and enter your name under the personal

 information setting.


        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made

 electronically in advance of both electronic and in-person hearings. To make your appearance,

 click the “Electronic Appearance” link on Judge Jones’s home page. Select the case name,

 complete the required fields and click “Submit” to complete your appearance.


Houston, Texas
Dated: September 11, 2023

                                             /s/ Susan Tran Adams
                                             TRAN SINGH LLP
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                                             Brendon Singh (TX Bar No. 24075646)
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                                             Counsel for American 1Gas, Inc., Broadway Fuel,
                                             Inc., Commack Fuel, Inc., Monto Food Mart, Inc.,
                                             Prime Petro, Inc., and Riverdale Fuel, Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2023, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.


                                             /s/Susan Tran Adams
                                             Susan Tran Adams
